                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division

UNITED STATES OF AMERICA                    )
                                            )       Criminal No. 1:15-CR-164
              v.                            )
                                            )       The Honorable Ivan D. Davis
ALI SHUKRI AMIN,                            )
                                            )
              Defendant.                    )

          United States’ Motion to Unseal Exhibit 6 Used in the Detention Hearing

       The United States respectfully requests that the Court unseal Exhibit 6 used in the January

13, 2023 detention hearing. At the time of the hearing, due to the size of the document, the United

States had not had an opportunity to review the document in depth to identify whether it contained

the identity of the subjects of law enforcement investigations or other sensitive information that

should be placed under seal. The Court permitted the United States to file Exhibit 6 under seal

temporarily. After review of Exhibit 6, the United States submits that it does not need to be placed

under seal. The defendant’s counsel has had an opportunity to review Exhibit 6 and does not

object to this motion. As a result, the United States respectfully requests that Exhibit 6 to the

January 13, 2023 detention hearing be unsealed.


                                          Respectfully submitted,

                                          Jessica Aber
                                          United States Attorney

                                          /s/ Gavin R. Tisdale
                                          Gavin R. Tisdale
                                          Assistant United States Attorneys
                                          United States Attorney’s Office for
                                          the Eastern District of Virginia
                                          2100 Jamieson Avenue
                                          Alexandria, VA 22314
                                          Office: (703) 838-2625
                                          Email: gavin.tisdale@usdoj.gov
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                                 CERTIFICATE OF SERVICE

       I certify that on January 23, 2023, I filed electronically the foregoing with the Clerk of Court

using the CM/ECF system, which will serve all counsel of record.



                                          /s/ Gavin R. Tisdale
                                          Gavin R. Tisdale
                                          Assistant United States Attorney
                                          United States Attorney’s Office for
                                          the Eastern District of Virginia
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                         EASTERN DISTRICT OF VIRGINIA
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UNITED STATES OF AMERICA                  )
                                          )      Criminal No. 1:15-CR-164
             v.                           )
                                          )      The Honorable Ivan D. Davis
ALI SHUKRI AMIN,                          )
                                          )
             Defendant.                   )

        ORDER TO UNSEAL EXHIBIT 6 USED IN THE DETENTION HEARING



      It is hereby ORDERED that the United States’ Exhibit 6 used in the January 13,
2023 detention hearing is UNSEALED.




                                                 ___________________________
                                                 The Honorable Ivan D. Davis
                                                 United States Magistrate Judge

Date: ______________________
Alexandria, VA
